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                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION

IN RE:                                           :
                                                 :       CASE NO. 20-62464-WLH
MARY TORRENCE WILLIAMS,                          :
                                                 :       CHAPTER 7
         Debtor.                                 :
                                                 :

                      NOTICE OF TRUSTEE’S FINAL REPORT AND
                        APPLICATIONS FOR COMPENSATION,
                        DEADLINE TO OBJECT AND HEARING

         S. Gregory Hays, the Chapter 7 Trustee (“Trustee”) for the bankruptcy estate of Mary
Torrence Williams, has filed a Final Report and the Trustee and the Trustee’s professionals have
filed final fee applications on August 06, 2023 [Dkt No. 54], which are summarized in the enclosed
Notice of Trustee’s Final Report and Applications for Compensation and Deadline to Object
(NFR) [Dkt No. 55].
         Pursuant to Third Amended and Restated General Order No. 24-2018, the Court may
consider this matter without further notice or a hearing if no party in interest files a response or
objection within twenty-one (21) days from the date of service of this notice. If you object to the
relief requested in the pleadings, you must timely file your objection with the Bankruptcy
Clerk at U.S. Bankruptcy Court, Suite 1340, 75 Ted Turner Drive, S.W., Atlanta, Georgia
30303, and serve a copy on the Trustee, S. Gregory Hays, 2964 Peachtree Road, NW, Ste 555,
Atlanta, GA 30305, and any other appropriate persons by the objection deadline. The response or
objection must explain your position and be actually received by the Bankruptcy Clerk within the
required time.
         A hearing on the pleading has been scheduled for September 07, 2023. The Court will
hold a hearing on the pleading at 10:30 A.M.. on September 07, 2023, Courtroom 1403, which
may be attended in person or via the Court’s Virtual Hearing Room. You may join the Virtual
Hearing Room through the “Dial-in and Virtual Bankruptcy Hearing Information” link at the top
of the homepage of the Court’s website, www.ganb.uscourts.gov, or the link on the judge’s
webpage, which can also be found on the Court’s website. Please also review the “Hearing
Information” tab on the judge’s webpage for further information about the hearing. You should
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be prepared to appear at the hearing via video, but you may leave your camera in the off position
until the Court instructs otherwise. Unrepresented persons who do not have video capability may
use the telephone dial-in information on the judge’s webpage.
       If an objection or response is timely filed and served, the hearing will proceed as scheduled.
If you do not file a response or objection within the time permitted, the Court may grant the
relief requested without further notice and without holding the scheduled hearing provided
that an order approving the relief requested is entered at least one business day prior to the
scheduled hearing. If no objection is timely filed, but no order is entered granting the relief
requested at least one business day prior to the scheduled hearing, the hearing will be held as
scheduled.
       Your rights may be affected. You should read these papers carefully and discuss them
with your attorney, if you have one in this bankruptcy case. If you do not have an attorney,
you may wish to consult one.

Dated: August 08, 2023.
                                                      S. Gregory Hays
                                                     S. Gregory Hays
                                                     Chapter 7 Trustee
                                                     Hays Financial Consulting, LLC
                                                     2964 Peachtree Road, NW, Ste 555
                                                     Atlanta, GA 30305
                                                     (404) 926-0060
